                           Case 3:19-cv-01519-JBA Document 177 Filed 08/05/21 Page 1 of 1
                                                                                                                Civil- (Dec-2008)
                                                              HONORABLE:   T. O. Farrish
                                   DEPUTY CLERK R. K. Wood                  RPTR/ECRO/TAPE FTR
      TOTAL TIME: 1                 hours 38    minutes
                                      DATE:  8/5/21         START TIME: 10:01 a.m.     END TIME: 11:39 a.m.
                                                         LUNCH RECESS         FROM:            TO:
                                                 RECESS (if more than ½ hr)   FROM:            TO:

      CIVIL NO. 3:19CV1519 (JBA)


                    Doe                                                          J. Figliozzi, K. Lau
                                                                                         Plaintiff’s Counsel
                                      vs
                    Wesleyan University                                          J. Sconzo, J. Sterling, M. Vitale
                                                                                         Defendant’s Counsel

                                               COURTROOM MINUTES- CIVIL

                          ✔ Motion hearing                       Show Cause Hearing
                              Evidentiary Hearing                Judgment Debtor Exam
                              Miscellaneous Hearing

       ✔ .....# 106 Motion to Compel                                                granted        denied ✔ advisement
       ✔ .....# 116 Motion for Contempt & to Compel                                 granted        denied ✔ advisement
       ✔ .....# 119 Motion to Quash                                                 granted        denied ✔ advisement
       ✔ .....# 121 Motion for Sanctions                                            granted        denied ✔ advisement
           .....#         Motion                                                    granted        denied       advisement
          .....#          Motion                                                    granted       denied        advisement
          .....#          Motion                                                    granted       denied        advisement
          .....           Oral Motion                                               granted        denied       advisement
          .....           Oral Motion                                               granted        denied       advisement
          .....           Oral Motion                                               granted       denied        advisement
          .....           Oral Motion                                               granted        denied       advisement
          .....              Briefs(s) due               Proposed Findings due                Response due
          .............                                                                                 filed   docketed
          .............                                                                                 filed   docketed
          .............                                                                                 filed   docketed
          .............                                                                                 filed    docketed
          .............                                                                                 filed   docketed
          .............                                                                                 filed   docketed
          ............                         Hearing continued until                             at

Notes: The hearing was held via zoom video conference.
